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                IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA
v.                                            CRIMINAL ACTION NO. 1:07CR47


WARREN KIPP HALL,
               Defendant.

                                      ORDER/OPINION

       On the 15tht day of October, 2005, came the United States of America by David E.

Godwin, Assistant United States Attorney, and also came the defendant, Warren Kipp Hall, in

person and by his counsel, Brian J. Kornbrath, for hearing on the Petition for Action on

Conditions of Pretrial Release filed on May 9, 2007, alleging that Defendant:

1.     Violated Mandatory Condition 1 that he not commit an offense in violation of federal,

       state or local law while on release in this case; and

2.     Violated Condition 7(o) that he refrain from any use of alcohol.

       As grounds for the above violations, Defendant’s Adult Pretrial Services Officer Mark

McKee stated:

       On May 8, 2007, the defendant, Warren Kipp Hall, was arrested by the
       Clarksburg Police Department and charged in Harrison County Magistrate Court
       at Case No. 07 M 1215 with Driving Under the Influence (DUI) in violation of
       Chapter 17C, Article 5, Section 2 of the West Virginia Code. On May 9, 2007,
       the defendant was released from jail after posting a $3,500 bond with the
       condition “Do not drink and drive.”

       The Adult Pretrial Services Officer noted that during the traffic stop Defendant failed

three field sobriety tests, and a Breathalyzer test registered a BAC of .138.
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       Prior to the taking of evidence, Defendant, through counsel, waived the hearing regarding

the alleged violations, admitting there was probable cause that he had been stopped for a DUI

violation, and that there was clear and convincing evidence that he violated the condition of his

release that required he refrain from use of alcohol. From the colloquy between the Court and

the defendant, the Court concludes Defendant’s decision to waive the hearing was freely,

knowingly, and voluntarily made.

       Defendant, through counsel, then requested continued release, pursuant to 18 U.S.C. §

3148, arguing that even if probable cause is found that he violated conditions, there were

conditions or a combination of conditions that would reasonably assure his appearance and the

safety of the community. Defendant argued that the government had not moved to detain him

at his initial appearance; that he was a lifelong resident of Clarksburg, West Virginia; that he

lived with his wife and three teenaged children; that he had lived at the same address for six

years; that his wife worked full time as a dietary aid; and that as a member of Local Union 803,

he either worked full time or received a “low earnings” wage from the Union. Defendant asked

the Court to modify his bond to reflect that he: 1) Give up any driver’s license and not operate

a motor vehicle; 2) Reside at his home with his family on home confinement with electronic

monitoring unless permitted to work; 3) if permitted to work he could ride with his father to

work; and 4) he could pay for own electronic monitoring.

       The government objected to Defendant’s release, arguing that the nature of the underlying

charges was serious, with minimum sentences; that the weight against Defendant on the

underlying charges was strong, supported by recordings of controlled buys of illegal drugs; that

Defendant did test positive for drugs when first arrested; and that he was a danger to the

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   community if only due to his driving drunk within 24 hours of being released by this Court.

            Upon all of which the Court found:

   1)       The Court is extremely concerned and gives credence to the argument that Defendant is

            facing serious charges in this case, with three distinct counts of distributing a controlled

            substance within 1000' of a protected facility;

   2)       The court is not unmindful that Defendant does not have a vast criminal history, but what

            he does have is tied to the use of illegal drugs;

   3)       The Court is not unmindful of the fact that within 24 hours of his release by this Court,

            Defendant ignored what he had been told by the Court, got drunk and, more importantly,

            drove a vehicle, making himself a danger to the community;

            Considering all of which, the Court concludes there are conditions of release that can be

   imposed which will protect the community and insure Defendant’s future appearance before the

   court and accordingly directs that Defendant be released on further restricted conditions of

   release which will include1:

   1)       Defendant shall be on home incarceration, restricted to his residence at all times with the

            exception of medical needs and treatment, religious services, and Court appearances,

            ALL OF WHICH MUST BE PRE-APPROVED by his Adult Pretrial Services Officer;

   2)       Defendant shall be under Electronic Monitoring which shall be paid for by Defendant;

   3)       Defendant shall surrender any driver’s licence and shall sign conditions that he shall not

            drive. Defendant SHALL NOT DRIVE;


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        The complete revised, further restrictive conditions of release will be encompassed in a
separate Order bearing even date herewith.

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4)     Defendant shall not be released unless and until his wife removes any and all alcohol

       from the residence, and agrees not to permit any alcohol to be brought into the residence,

       including medications that may contain alcohol;

4)     Defendant shall not be released until his Adult Pretrial Services Officer has the

       opportunity to, and does inspect the home to be assured no alcohol, firearms, explosives

       or components of explosives are present in the home.

5)     These conditions are in addition to those already in effect.

       The Clerk shall direct copies of this order to counsel for the United States, to

counsel for the defendant, to the United States Marshal, and to the United States Probation Officer.

DATED: The 15th day of May, 2007.

                                               /s John S. Kaull
                                               JOHN S. KAULL
                                               UNITED STATES MAGISTRATE JUDGE




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